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AO 458 (Rev. 06/09) Appearance of Counsel

UNITED STATES DISTRICT COURT

for the
Southern District of New York

 

 

Susan Vo|pe and Ravmond Vo|pe. )
Flain£{}j' )
v. ) Case No. 1:18-cv-06505 (AJN)
New End|and N|otor Freiclht. |nc. and Otto Danie|. )
Dejéndant )
APPEARANCE OF COUNSEL

To: The clerk of court and all parties of record
I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

P|aintiffs Susan Vo|De and Ravmond Vo]De

Date: 08/15/2018

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